\Case 8:18-cv-00319-EAK-l\/lAP Document 7 Filed 02/07/18 Page 1 of 1 PagelD 43

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

 

 

 

for the
Middle District of Florida
ANDREW KL|NE, DUSTY SHOWERS, LENA )
HuNA, and cHARLEs MABRA on behalf of )
themselves and all others similarly situated )
)
Plainti/Y(s) ) _
V- § Civil Action No. 66 \g'w / 5\°\*_(" \,WMH f
BlTCONNECT, BlTCONNECT LTD, BlTCONNECT ) ry
lNTERNATlONAL PLC, BlTCONNECT TRADING ) wm
LTD, GLEN_N ARCARO, RYAN MAASEN, JOSHUA ) f §1'§
JEPPESEN , AND JOHN DOES ‘l-20 ) j;~;
Defendan¢(s) ) j " l~.~f
.' s , 1
SUMMONS IN A CIVIL ACTION ""J
:?
TOI (Defendant’s name and address)r JOSHUA JEPPESEN ;;
:`."`"

A lawsuit has been filedagainst you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described 1n Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: Joshua H. Eggnatz

EGGNATZ PASCUCC|, P.A.
5400 S. Univsity Dr.

Suite 417, Davie, FL

(954) 889-3359

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint

You also must file your answer or motion with the court.

CLERK OF CO URT

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Date: 02/05/2018
Signature of Clerk or Depuly Clerk

